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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES of America ex rel. §
[FILED IN CAMERA AND UNDER SEAL] §
                                 §
Plaintiff,                       §
                                 §        CASE NO.: ___________________
v.                               §
[FILED IN CAMERA AND UNDER SEAL] §        COMPLAINT FOR VIOLATION OF
                                 §        THE FALSE CLAIMS ACT
Defendant.                       §        [31 U.S.C. §§ 3729, et seq.]
                                 §
                                 §        JURY TRIAL DEMANDED




                                   Respectfully submitted,

                                   GAUNTT, KOEN, BINNEY & KIDD, LLP


                                   By:__/s/ Geoffrey S. Binney__________
                                          Geoffrey S. Binney
                                          Fed. Bar No 32660
                                          State Bar No. 24029071
                                          Peter Pope
                                          Fed. Bar No. 2145408
                                          State Bar No. 24062366
                                   1400 Woodloch Forest Dr., Suite 575
                                   The Woodlands, Texas 77380
                                   Telephone: 281/367-6555
                                   Facsimile: 281/367-3705
                                   E-Mail: geoff.binney@gkbwklaw.com
                                   Attorneys for Qui Tam Plaintiff

                                   [FILED IN CAMERA AND UNDER SEAL]
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                       IN THE UNITED STATES DISTRICT COURT
                         THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 THE UNITED STATES OF AMERICA,               §
 ex rel. CORLA JACOBSON,                     § CAUSE NO. ___________________________
         Plaintiff                           §
                                             §
 v.                                          § JURY TRIAL DEMANDED
                                             §
 CRANE CO.,                                  §
     Defendant.                              §
                                             §
                                             §

            COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
                          [31 U.S.C. §§ 3729, et seq.]

       COMES NOW, Corla Jacobson, qui tam Relator, through her undersigned counsel and, on

behalf of the United States of America pursuant to 31 U.S.C. § 3307(b)(1), brings this cause of

action against Crane Co. (“Crane”) and respectfully alleges as follows:

                                       INTRODUCTION

       1.      This is an action to recover damages and civil penalties from Crane Co. (“Crane”)

for making false statements and claims regarding the qualification of Flowseal High Performance

Butterfly valves purportedly manufactured in accordance with military specification MIL-V-

24624 as listed on Qualified Product List QPL-24624, and sold to the United States or prime

contractors to the United States.

       2.      In 2005, in the case styled The United States of America ex rel. Walter Klepacz v.

Crane Co., Cause No. H-05-594, Walter Klepacz, on behalf of the United States, sued Crane for

violations of the False Claims Act pertaining to the manufacturing and marketing of the Flowseal

MS (“Mil-Spec”) valves, which were sold directly and indirectly to the United States for

installation on naval vessels. In March 2007, the United States intervened in the case and pursued
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Crane for violations of the False Claims Act by making false statements regarding its Mil-Spec

valves being manufactured in accordance with military specification MIL-V-24624 as listed on

Qualified Product List QPL-24624, and sold to the U.S. or prime contractors to the U.S. Crane

settled with the U.S. in August of 2007.

       3.      Relator has been the Site Quality Manager for Crane’s Crane Energy/Crane Valve

North America (“CVNA”) division located in Montgomery County, Texas, from November 2011

to the present. During her time as Site Quality Manager, Relator witnessed and can provide

testimony and documentation to numerous and significant quality control problems concerning the

sale of valves to the United States Government.

       4.      Relator’s claims set forth herein demonstrate a complete rejection of the terms of

the 2007 settlement agreement between Crane and the United States. Crane’s ongoing practices

demonstrate a complete disregard for quality and a conscious indifference towards the regulations

and requirements governing its manufacturing of the Mil-Spec valves. Instead of ensuring that the

regulations are implemented and followed in Crane’s Conroe facility, the company has fostered a

culture of protectionism and deception, circumventing process and quality control procedures,

failing to report discrepancies, bypassing approved testing procedures, purchasing materials that

do not conform with approved specifications, and misrepresenting to Naval Sea Systems

Command (“NAVSEA”) the conformity of its Mil-Spec valves to applicable government

regulations.

       5.      On May 4, 2017, Relator’s counsel telephonically contacted the United States

Attorney’s Office for the Southern District of Texas, Houston Division, and provided a summary

of the facts that form the basis of this Complaint. Accordingly, Relator satisfied her obligations

under 31 U.S.C. § 3729, et seq. and is, in fact, the “original source of information” enclosed herein
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as required under 31 U.S.C. § 3730 (e)(4)(A). Relator has direct and independent knowledge of

the information upon which the allegations are based.

                                              PARTIES

       6.        Plaintiff is the United States of America.

       7.        Corla Jacobson (“Relator”) is a resident of Texas. Relator is employed by Crane

Energy from November 2011 through the present in the Conroe, Texas facility as the Site Quality

Manager.

       8.        Crane is a Delaware corporation, with its principal place of business at 100 First

Stamford Place, Stamford, Connecticut 06902-6784.

       9.        Crane specializes in, among other things, manufacturing valve and valve related

industrial products through over 60 business entities located worldwide, including Crane Valves

North America ("CVNA"), Xomox Corporation, Centerline, Mark Controls Corporation, and

MCC Holdings.

       10.       Crane entity CVNA is headquartered in The Woodlands, Texas and has

manufacturing facilities in at least Mexico and Conroe, Texas.

                                  JURISDICTION AND VENUE

       11.       This action arises under the False Claims Act, 31 U.S.C. § 3729, et seq., and the

common law. Jurisdiction over the claims asserted in this action is based upon federal subject matter

under 31 U.S.C. § 3732(a) and 28 U.S.C. § 1345.

       12.       Venue is proper in the Southern District of Texas under 31 U.S.C. § 3732(a) and

28 U.S.C. §§ 1391(b) and (c), because Crane can be found in, and is transacting business in the

Southern District of Texas, and because Crane committed acts within this District that violated 31

U.S.C. § 3729.
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                                             FACTS

A.     The United States Department of Defense Qualified Products List Regulations

       13.     Title 10, United States Code, Sections 2451-2457 authorizes the Secretary of

Defense to establish the Defense Standardization Program (“DSP”).

       14.     The DSP is implemented under Department of Defense (“DOD”) Instruction

4120.24. DOD Instruction 4120.24 provides for a Qualified Products List (“QPL”) program.

       15.     The QPL program establishes a Government maintained listing of approved

manufacturers for items made to Government specifications. The United States maintains

thousands of product specifications.

       16.     Inclusion of an item on a QPL allows the manufacturer to provide, and the

purchaser to obtain, satisfactory pre-contractual evidence that a product or family of products have

been tested and have met the requirements of the applicable specification.

       17.     Additionally, inclusion of an item on the QPL allows a manufacturer to, inter alia,

advertise and make available to the Government the item without the need for time consuming

and expensive First Article Testing that would otherwise need to be repeated with each separate

contract for sale of the item.

       18.     Stringent QPL qualification requirements ensure the integrity of the program and the

corresponding ability of the Government and its contractors to have a high level of confidence in

the products manufactured in accordance with specification they represent.

       19.     Listing an item on a QPL does not guarantee that a manufacture will be awarded

Government contracts, but many Government and prime contractor solicitations specifically

require QPL items.

       20.     DOD 4120.24-M, “DSP Policies and Procedures,” is a manual for the utilization of
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QPL’s throughout the Department of Defense, and lays out the specific provisions governing QPL

qualification in Enclosure 14 of DOD 4120.24-M, “Qualification.”

       21.    Enclosure 14, in pertinent part:

       a.     Restricts a manufacturer's QPL qualification to only those items listed on the QPL
              (type, class, grade, process, material, or other designation) and manufactured at the
              manufacturing facility listed (Enclosure 14 9.(g)(6)(d)).

       b.     Requires notification to the Qualifying Activity of any change in the product or
              manufacturing process and must provide a complete description of the change.
              (Enclosure 14 9.g.(6)(f)).

       c.     Requires that a manufacturer “Maintain adequate process and quality control
              procedures to ensure that the items continually comply with all specification
              requirements.” (Enclosure 14 11.a.(1)) (emphasis added).

       d.     Requires that a manufacturer immediately report any discrepancies discovered
              during testing and periodic reexamination of the product to the Qualifying Activity
              as well as the Government-Industry Data Exchange Program. (Enclosure 14
              11.a.(2)).

       e.     Requires that the manufacturer ensure that “delivered items conform to all
              requirements including performance, quality, reliability, and all other specified
              product characteristics. (Enclosure 14 11.a.(3)).

       f.     Requires that a manufacturer "[e]nsure that all products are manufactured and
              tested in a manner that was approved under the original specification. This includes
              the manufacturing process and plant location, test sequences, test methods, and test
              procedures used. Any change or deviations shall be immediately reported to the
              [Qualifying Activity] to determine the extent of requalification. (Enclosure 14
              11.a.(4)) (emphasis added).

       g.     Requires manufacturers to obtain and maintain a commercial and government
              entity code (“CAGE code”) in the System for Award Management for each
              manufacturing facility and address associated with each supplier with which it
              corresponds. (Enclosure 14 11.a.(5)).

       h.     Requires that the manufacturer complete and submit a “Certification of Qualified
              Products” DD Form 1718 to the Qualifying Activity every two years. (Enclosure
              14 11.a.(6)). The DD Form 1718 must be signed by a responsible official of
              management, and the manufacturer must certify that:

              x   The listed product is still manufactured at the plant shown on the QPL;
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              x   The plant is still under the same management;

              x   The product is manufactured under the same conditions as originally qualified,
                  with the same process, materials, construction, design, and manufacturer’s part
                  number or designation;

              x   The product meets the Mil-Spec requirements and tests;

              x   Any changes that have been made to the product since the qualification date.
                  Any changes that did not get approved must be justified with supporting data
                  showing why the change will not impact the product’s qualification; and

              x   Company names and addresses for CAGE codes are current. (Enclosure 14
                  11.i.(1)-(6)).

       i.     Requires that a manufacturer adhere to certain restrictions regarding advertising for
              qualified products, including that the manufacturer “cannot advertise or imply that
              its products are qualified or meet a specification that requires qualification unless
              they are in fact qualified and either listed or approved for inclusion on the
              applicable electronic QPL or QML.” (Enclosure 14 11.b).

       j.     Authorized distributors providing QPLs must identify the manufacturer and CAGE
              code, among other things, of qualified product. Additionally, “the authorized
              distributor must certify that the product being offered to the government has not
              been added or changed in any way by the distributor and is the product of the
              manufacturer that is on the electronic QPL or QML.” (Enclosure 14 9.c.(1))
              (emphasis added).

B.     Valves Manufactured in Accordance with Mil-Spec MIL-V-24624(SH) and OPL-
       24624.

       22.    Mil-Spec MIL-V-24624(SH), "Valves, Butterfly, Wafer and Lug Style, Shipboard

Service," dated November 3, 1983, as amended February 13, 1984 (hereinafter “MIL-V-24624”),

is a specification for which a QPL has been designated: QPL-24624.

       23.    MIL-V-24624 incorporates, and restates various requirements of, the QPL program

found in Appendix 2 of DOD 4120.24-M, for instance:

       a.     “Qualification. Valves furnished under this specification shall be products which are
              qualified for listing on the applicable qualified products list at the time set for
              opening of bids (see 4.3 and 6.3).” (MIL-V-24624 ¶ 3.1).

       b.     “Qualification inspection. Qualification inspection shall consist of the examination
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               and tests specified in 4.3.1 through 4.3.8 conducted at a laboratory satisfactory to
               the Naval Sea Systems Command.” (Id. at ¶ 4.3).

       c.      “With respect to products requiring qualification, awards will be made only for
               products which are, at the time set for opening bids, qualified for inclusion in the
               Qualified Products List QPL-24624 whether or not such products have actually
               been so listed by that date. The attention of the contractor is called to these
               requirements, and manufactures are urged to arrange to have the products that they
               propose to offer to the Federal Government tested for qualification in order that they
               may be eligible to be awarded contracts or purchase orders for the products covered
               by this specification. The activity responsible for the Qualified Products List is the
               Naval Sea Systems Command, ["NAVSEA"]…Application for qualification tests
               shall be made in accordance with "Provisions Governing Qualification SD-6.” (Id.
               at ¶ 6.3).

C.     Crane’s Systemic Non-Conformance with DOD Regulations

       1.      Crane Consistently Demonstrates a Complete Disregard for Process and
               Quality Control Procedures

       24.     From the requirements of Enclosure 14 of the DODM, through the requirements in

SD-6, an integral part of QPL maintenance is the implementation and maintenance of effective

process and quality control procedures. Crane’s behavior discussed below demonstrates its

conscious disregard for effectively maintaining quality systems as required by the Department of

Defense. Despite lip service to quality, Crane chooses to adopt and cultivate a culture of

obfuscation, deception, and preference for convenience rather than ensure its products adhere to

the QPL and Mil-Spec requirements and specifications. The following is simply a sampling of

Crane’s dismissal of quality as a priority.

               a.      Engineering Change Order Process Demonstrate Crane’s Disregard
                       for Quality Control

       25.     Enclosure 14 11.a.(1) requires the manufacturer to “Maintain adequate process and

quality control procedures to ensure that the items continually comply with all specification

requirements.” Crane uses a proprietary web-based system to submit what are referred to as

Engineering Change Orders (“ECO”) in order to comply with this requirement. Every addition,
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modification, or change to an existing completed valve, vendor list, component, drawing, and

other processes utilize the ECO process to track requests. In short, the ECO process tracks every

aspect of Crane’s product lines—with the notable exception of quality controls. Every other

department (excluding maintenance) is notified when ECOs are submitted and is involved in the

approval of ECOs, including (but not limited to) Purchasing, Sales, Operations, Engineering, etc.

However, the Quality Department is excluded. Accordingly, Quality has no official input in the

approval process and does not get notified of changes. In every instance where ECOs are discussed

or cited herein, Quality was not notified of the change and was not given authority to approve or

deny the proposed change prior to implementation of the proposed change. From August 2007 to

date, nearly 500 ECOs have been submitted and handled pertaining to Crane’s Mil-Spec valves.

Despite the requirements of 11.a.(1) of Enclosure 14 and the presence of a system designed to

track and approve/deny engineering changes to its products, Crane deliberately excludes the

Quality department from the decision-making process.

       26.    Additionally, training on the ECO process is wholly inadequate. The parties given

decision-making authority are not properly trained to make correct determinations on whether

ECOs should be approved or rejected. Instead, Crane frequently approves ECOs without

justification or further comment. When Relator asked multiple parties why approval was given,

peer pressure is a common answer. Instead of specifying, Crane employees simply provide

approval for an ECO.

       27.    In other change control failures, Bills of Materials (“BOM”) may be altered by

shop planners with no traceability. For example, if Crane runs out of inventory on a Mil-Spec

component, the planner has the ability to alter the BOM and replace the unavailable component

with a different, available component on the BOM for the work order. As a result, the assemblers
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construct the valve per the work order without any knowledge that the BOM originally specified

a different part. Without knowledge of the original item on BOM, there is no way to track changes

that are made manually to the BOM and work order.

               b.      Engineering Deviations Contribute to Crane’s Process and Quality
                       Control Failures

       28.     Crane’s Deviation system also frequently allows for failures in process and quality

control procedures. Deviations are used to modify a standard process or procedure, despite the

requirements in DODM 4120.24 Enclosure 14 to maintain process and quality control procedures

and notify NAVSEA of any deviations from approved procedures. Crane frequently uses

Deviations to circumvent approved processes and procedures, but does not inform NAVSEA of

these deviations.

       29.     One such example occurred in 2010 and pertains to valve testing. MIL-V-24624

paragraph 4.3.2 requires that valve seats be subjected to bi-directional pressure tests. In February

2010, Crane issued Deviation AFD-10-008 pertaining to all High Performance Butterfly Valves,

a subset of which consists of Mil-spec valves. The Deviation states, “Bi-directional testing has not

proven to be beneficial to the performance of the valve,” and further instructs valves to be tested

in a single direction. While the Deviation states that the change does not apply to “valves supplied

to VAC” (a subsidiary of W&O), few understood the exception as being applicable to Mil-Spec

valves, and Crane stopped bi-directional testing on its Mil-Spec valves. It was not until July 2012

when Relator recognized the requirement, that Crane was not performing bi-directional testing,

and reinstated the test for Mil-Spec valves.

       30.     While all Deviations are tracked, not all pertain to Mil-Spec. That said, numerous

Deviations have been issued pertaining to Mil-Spec valves, none of which have been reported to

NAVSEA.
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           2.       Management Changes Have Gone Unreported

           31.      Despite several changes in management at the Conroe facility and leadership over

the company, Crane failed to report those changes to the Qualifying Activity. When submitting

the DD Form 1718 for renewing its QPL certification, Crane is required to certify that the plant

where the QPL is manufactured is under the same management as the previous qualification.

DODM Enclosure 14 11.i(2). The Conroe facility underwent multiple management changes to its

site leadership without notifying NAVSEA. According to an email from Senior Quality

Technician John Wiles1 to Relator in 2016, the Conroe facility had at least seven different site

leaders during the relevant time period. Additional site leadership changes went unreported. In

February of 2013, Norm Schultz was announced as the Site Leader for the Conroe facility. He was

later replaced by Nuwan Dantanarayana in January of 2016. In addition to the Site Manager

changes, Crane underwent several changes in higher-level leadership that play a direct role in the

management of the Conroe facility. To Relator’s knowledge, none of these changes in

management were reported to the NAVSEA on either the DD Form 1718 or through any other

communications.

           32.      Other management changes directly impacting the manufacturing of Mil-Spec

valves routinely go unreported. The Value Stream Manager at the Conroe facility oversees the

production and manufacture of the Mil-Spec valves at the plant. Steve Fullerton held the position

until late 2016 when he was replaced with Dwight Marek by Site Manager Nuwan Dantanarayana.

Others held the position during Relator’s tenure with Crane, but none of those changes were

reported to NAVSEA either. Because the Value Stream Manager has direct oversight and



1
    John Wiles was the original replacement for Walter Klepacz, the Relator of the previous lawsuit against Crane.
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management control of the Mil-Spec valve manufacturing, these changes in management have a

significant impact on the day-to-day operations and manufacture of Mil-Spec valves.

        3.       Advertising Violations

        33.      Crane’s advertising with one of its suppliers also violates the regulations set forth

in DODM 4120.24. Enclosure 14 states, “A manufacturer cannot advertise or imply that its

products are qualified or meet a specification that requires qualification unless they are in fact

qualified and either listed or approved for inclusion on the applicable electronic QPL or QML.”

DODM Enclosure 14 11.b. Crane supplies Mil-Spec butterfly valves to W&O Supply. On its

website, W&O Supply lists Crane’s valves as “Navy Butterfly Valves;”2 under “Mil-Spec Type”

the website identifies five different specifications: “Mil-V-22133 lug or wafer (typical buna seat),”

“Mil-V-24624 Type A (wafer) Type B (lug),” “TYIII(Bronze) TY I (Stainless),” “Ventilation

valves:dwg-805-1749102-           round,”     and     “Ventilation     valves:dwg-805-1749103-           oval.”

Additionally, the page links to Crane’s Flowseal Marine Brochure, which states that Flowseal

valves are manufactured under an ISO 9001 Quality Assurance Program that ensures that “each

valve meets or exceeds your application requirements.” The brochure also states, “Flowseal is an

approved supplier of High Performance Butterfly Valves in accordance with Military

Specialization MIL-V-24624 (SH).” The factory in Long Beach, California has been surveyed for

conformance to the MIL-I-45208 Quality Inspection System.” The valves are manufactured at the

Conroe facility, and the unauthorized relocation of production from Long Beach to Conroe was a

significant aspect of the prior lawsuit by the U.S. against Crane. Crane’s own brochure represents

that not only are the valves still produced at the Long Beach facility, but also that the Mil-Spec

valves are produced at a facility that conforms to the “MIL-I-45208 Quality Inspection System.”


2
   See http://catalog.wosupply.com/index.php/products/navy-valves/navy_butterfly_valve, current as of the date of
filing.
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Long Beach does not manufacture Mil-Spec valves, and has not done so for over a decade.

Furthermore, the Conroe facility has never been surveyed for conformance with MIL-I-45208. In

fact, MIL-I-45208 was canceled in 1996. Crane’s brochure is false and misleading regarding the

location of manufacturing and implies that its facilities meet a heightened military inspection

system that no longer exists. The website and brochure is false and violates the restrictions on

Manufacturer’s Advertising found in DODM 4120.24 Enclosure 14.

       34.     Additionally, Crane is aware of the brochure’s presence on W&O’s website but has

done nothing to have it removed. In correspondence dated February 22-23, 2011, several Crane

employees discussed the presence of the brochure on W&O’s website and acknowledged the errors

contained within the brochure. Doug Clendenin recognized the brochure’s issues and stated that

the brochure has “several errors in it which have created very costly and potentially damaging

problems for Crane Co.’s business with the U.S. Federal Government.” Additionally, he claimed

that Crane removed all copies of the brochure in 2006. He followed up on January 25, 2011, once

again acknowledging the prior lawsuit. He stated that the brochure should have been deleted, and

if not, that Crane should confirm so that no old copies of the brochure are distributed. Despite the

sense of urgency displayed in emails by Mr. Clendenin, the brochure remains prominently visible

on W&O’s product page for the Mil-Spec valves to this day, over seven years since the original

emails were sent. Whatever concern Crane had about removing the brochures did not result in the

removal of the brochure from the product page where the Mil-Spec valves are displayed for

marketing and purchase. The brochure remains publicly available well over ten years after Crane

“removed all copies.” Not only does the brochure blatantly violate the restrictions on advertising,

but also Crane was aware of its presence on W&O’s website and failed to ensure that the brochure

was removed from the product page.
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       4.      Crane Internal Drawings Do Not Conform to NAVSEA-Approved
               Requirements

       35.     Crane’s valves frequently do not conform to the specifications approved by

NAVSEA, whether in design or in practice. As discussed below, components pertaining to a

specific order measured outside approved tolerances in many areas. Additionally, internal

component drawings frequently do not match the specifications approved by NAVSEA. Crane

internal drawings use a different Standard Tolerance than the drawings approved by NAVSEA. In

the Mil-Spec drawings approved by NAVSEA, all measurements that do not have a specified

tolerance use the following tolerances:




                 CRANE Drawings Approved by NAVY

This specifies that angles cannot have any variance, while decimal measurements have different

tolerances based on the precision of the measurement. Contrast that with Crane’s Standard

Tolerances used in its internal drawings for wedge pins:




                  CRANE Component Drawings

This specifies that angles may have a 30-second variation, while the variations in decimals range

from twice to five times as large as the approved tolerance. In other instances, the tolerance varies
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within individual parts, varying from drawing to drawing. The drawings nearly always allow for

greater tolerance than specified by the NAVSEA-approved drawings. The net result is the same:

Crane’s inconsistent acceptable tolerance levels consistently exceed the standard tolerance levels

approved by NAVSEA.

       36.     Additionally, Relator conducted gap analyses into several components, comparing

the NAVSEA-approved drawings with Crane’s internal drawings. As discussed in detail below,

Relator found a number of discrepancies within the wedge pin drawings. Relator also examined

the dimensions specified for the discs, finding a significant number of critical to quality

measurements where internal drawings exceeded approved tolerances. Each component with

internal drawings likely have the same type of discrepancies, with Crane’s internal specifications

impacting manufacturing processes which exceed maximum tolerances approved by NAVSEA.

       5.      Crane Violated Multiple Requirements in Retagging Mil-Spec Valves

       37.     In submitting its DD Form 1718, Crane misrepresented to NAVSEA that its valves

are manufactured under the same conditions as originally qualified. The form requires the

manufacturer submitting for QPL renewal to certify that “The product is manufactured under the

same conditions as originally qualified, with the same process, materials, construction, and

manufacturer’s part number or designation.” DODM 4120.24 Enclosure 14 11.i.(3). None of

Crane’s certifications since 2010 have contained any declarations of changes to any of the items

that the DOD Manual requires. Despite those representations, numerous instances of variations in

one or more of the requirements occurred at Crane, without notification to NAVSEA.

               a.     Crane Retagged Non Mil-Spec Valves as Mil-Spec Valves

       38.     In October 2011, Craig Bernard with W&O created a “C.A.R.E.” for returning a

number of valves of Purchase Order Number 1116966 for the return of 33 Mil-Spec valves of
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varying sizes. The original purchase order contained eight line-items for a total of 35 valves. None

were requested in Mil-Spec configuration in the original purchase order. However, W&O returned

the valves, stating, “Valves need to be returned to Conroe for retagging. Valves must be retagged

as 533’s.” The valves were originally tagged as “833” type valves, indicating that the valve bodies

were made of aluminum bronze, B148 ASTM C958 material. The body type requested by W&O,

type “5,” is aluminum bronze that meets MIL-B-24480 specifications. Additionally, the CARE

specifies a product type of “Mil-Spec” to be returned after retagging. By the plain language of the

return and request, W&O did not return the valves and request new valves that are Mil-Spec

certified. Instead, W&O requested Crane remove the tags identifying the valves as noncompliant

FlowSeal valves and retag the returned valves as Mil-Spec valves.

       39.     Amazingly, Crane complied with W&O’s request and generated additional line

items tied to the same sales order for the retagged valves. Each of the line items specified the

Product Class Code as “FSML,” Crane’s notation for FlowSeal valves that are certified as Mil-

Spec. Crane retagged the returned valves as Mil-Spec valves and indicated that the body material

is MIL-B-24480 aluminum bronze. In doing so, Crane issued a new serial number to each of the

returned valves. Thus, Crane returned the valves with the “533” configuration and indicated the

valve was Mil-Spec compliant, which it clearly was not. Furthermore, Crane returned the valves

with a Certified Materials Test Report (“CMTR”) that certified that the valves were tested to Mil-

V specifications. Obviously W&O’s request and Crane’s response create a number of problems.

       40.     First, Crane shipped valves to W&O tagged as Mil-Spec valves that were not in

compliance with Crane’s QPL Mil-Spec certification. Instead of replacing the noncompliant

valves with Mil-Spec valves, Crane simply retagged the original non-complying valves, issued

new serial numbers and re-issued CMTRs for the retagged valves that certified that the valves are
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Mil-Spec valves and passed Mil-V testing procedures. Crane did this in violation of a number of

regulations within DODM Enclosure 14, including a failure to report discrepancies in the

production process, a failure to maintain quality control procedures, a failure to ensure that

products were manufactured and tested as approved in the original specification, as well as other

failures.

        41.      Additionally, even the retagged valves returned as Mil-Spec valves do not meet the

approved QPL configuration. The returned valves were requested to be retagged as “533s,” with

the full requested valve configuration being ##-1LA-533RTG-BOJ (“##” being the various sizes

of valves returned). Crane’s NAVSEA-approved QPL for this valve type is ##-1LA-5X3XGF-

3MG. Instead of requesting a fully compliant Mil-Spec valve, W&O only requested that the body

material of the valve be aluminum bronze that is compliant with the MIL-B-24480 specification.

To truly qualify as Mil-Spec valves, Crane would have to change out not only the body material

on these valves, but also the disc material, seat material, packing material, bearing material, and

actuator. Crane did nothing to inform W&O of this error, but instead simply complied with the

request and retagged the returned valves as Mil-Spec valves.

        42.      As mentioned previously, Crane also issued the valves new serial numbers when it

retagged the valves as Mil-Spec valves. The new serial numbers issued to the retagged valves all

begin with the prefix “J37,”3 which indicates that the valves were manufactured at the Chihuahua

Crane Factory in Chihuahua, Mexico. Crane’s QPL certifies it only to produce Mil-Spec valves at

its Conroe facility. It cannot manufacture Mil-Spec valves in Chihuahua. While it is possible that

the valves Crane retagged as Mil-Spec were not actually manufactured in Mexico, the reissuance

of serial numbers with the J37 prefix destroys traceability, rendering the true source of the valves


3
  As will be discussed below, W&O encountered significant problems with the retagged valves and sent 30 of the 33
back to Crane for repair. All of the returned valves had serial numbers beginning with the “J37” prefix.
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unverifiable. Crane’s systemic failure to maintain standard practices and procedures frequently

produce results such as this.

               b.      Crane Encountered Subsequent Issues with the Retagged Valves

       43.     Subsequent additional problems from these retagged Mil-Spec valves demonstrate

Crane’s cavalier attitude and approach to adhering to the manufacturing and testing processes that

were approved when receiving QPL certification. In maintaining the QPL certification, the

manufacturer must:

               Ensure that all products are manufactured and tested in a manner
               that was approved under the original specification. This includes the
               manufacturing process and plant location, test sequences, test
               methods, and test procedures used. Any change or deviations must
               be immediately reported to the qualifying activity to determine the
               extent of requalification.

Enclosure 14 11.a.(4). In January 2012, W&O reported that all but four of the valves Crane shipped

as part of this purchase order had failed testing and were being returned for repairs. Failure during

the testing W&O performed indicates that the valves do not seal properly, allowing leakage

through the seat. W&O created a second CARE for this purchase order, supposedly returning 31

of the 35 valves originally purchased, but Crane received 30 valves for repair. The supplier

returned a total of 30 failing valves, including 12 four-inch valves, 13 five-inch valves, 2 six-inch

valves and 3 eight-inch valves, and requested repairs be made. As with the prior issue, Crane

received the valves and created new line items in the original sales order for the valves. As with

the prior issue, the sales order line items’ Product Class Code designated the valves as “FSML”

for Flowseal Mil-Spec type valves.

       44.     Crane engineers were unable to determine the cause of the valves’ failure. For each

of the different sizes of returned valves, Crane disassembled and reassembled the valves, taking

measurements for each valve’s body, disc, and retainer rings. Each measurement has a “nominal”
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value as well as a minimum and maximum tolerance level, which is defined on the drawings

submitted to NAVSEA for formal approval. Of those dimensions, Crane designated several

dimensions as “critical to quality,” meaning those dimensions have a direct and significant impact

on the quality of the valves. Each of the spreadsheets identified critical to quality measurements

that were outside the acceptable tolerance approved by NAVSEA. Additionally, each spreadsheet

contained the disclaimer, “Note: Valve were assembled/disassembled and reassembled causing

some dimensions to change. EX pin holes.” By stating that disassembly/reassembly may cause

some measured dimensions to change, Crane implied the dimensions of its valves is heavily

dependent on the assembly of each individual valve. Since the variations in dimensions are not

uniform with even the two valves of each type tested, there is no way Crane could ensure its valves

conform to all requirements specified in a uniform manner as required by Enclosure 14 11.a.(3).

Despite the relatively large number of measurements outside acceptable tolerance, Crane made no

conclusions and took no action on the measurement results.

       45.     Conforming to its culture of deception, Crane conducted improvised tests designed

to produce passing results for the returned valves. The test methods and procedures used were not

approved in the original specification, and therefore violated Crane’s obligation under Enclosure

14 11.a.(4) detailed above. As mentioned previously, the seat material used in the valves did not

conform to approved specifications. Instead, the seat was made of “RTFE/Silicone” material,

which is a generic reinforced Teflon variant. RTFE seats are rigid and inflexible, which was

believed to be the cause of the testing failures. As a result, Crane engineers soaked the seats of

several of the valves in a hot water bath at 145° for an hour before each test. The engineers hoped

this would “soften” the stiff seat material enough to produce a passing result. Ultimately, and not

surprisingly, the method did not produce reliable results. This incident further demonstrates
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Crane’s flippant attitude towards its QPL certification requirements. Crane consistently disregards

normal testing methods and procedures in favor of expedience and convenience, preferring a

“whatever works” approach to testing.

       46.     Ultimately, Crane performed a number of tests on each of the returned valves.

While several valves had components replaced and passed testing, no cause of the failures was

ever determined. Crane did not investigate further in order to prevent the problems from

reoccurring. Instead, it re-issued CMTRs for each of the returned valves and certified that the

valves again passed MIL-V-24624 shell and seat testing requirements. No documentation on the

testing found in the CMTR’s exists, however; it is likely that the CMTR results were automatically

generated.

       47.     In addition to the above testing issues, in 2015 Relator was approached by Mike

Miller, a machinist assigned to working on Mil-Spec valves, who advised Relator “he thought he

saw something wrong.” The machinists were unable to get a batch of valves to past testing, so

someone from the plant brought a toaster oven into the plant. The engineers then used the toaster

oven to heat up the seats, ostensibly to soften the seats in order to pass testing like they did with

the hot water baths discussed above. Upon information and belief, these seats were placed in

valves and shipped to fulfill orders.

       6.      Crane Uses Unapproved Materials in Mil-Spec Valves

       48.     Despite certifying that the valves are manufactured in the exact manner as

approved, Crane routinely uses materials not approved by NAVSEA in its specifications. By way

of example, as discussed in the section above, Crane routinely uses RTFE as the material for the

soft seat/o-ring in the Mil-Spec valves. There have been instances where a customer request for

RTFE soft seats has been rejected. In other instances, Crane demonstrates its own confusion on
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what materials NAVSEA approved for inclusion in Mil-Spec valves. In yet another example,

Crane approved a customer request for replacement of the NAVSEA-approved valve for an

unapproved Fire-Flow RTFE valve. Additionally, in 2012, Joel Eberlein drafted a memorandum

to Pat O’Brien on the topic of RTFE soft seats being sold in Mil-Spec valves. The memorandum

acknowledges the sale of Mil-Spec valves with RTFE soft seats instead of the approved material,

and notes, “Further, research continued to show little to no internal Crane documentation regarding

RTFE.” The memorandum found multiple BOMs from the customer specifying RTFE soft seats.

Despite Crane’s fulfillment of these orders and its knowledge of this issue, Crane has never

reported to NAVSEA its inclusion of RTFE soft seats in Mil-Spec valves.

       49.     This is simply one example of Crane selling Mil-Spec valves with components

made from unapproved materials. Other unapproved materials include: hand wheels must be

ASTM B62, but test data shows wheels have lead and zinc above allowable levels and the tin

content is below the required level of the ASTM; gland followers should be 18-8 stainless steel,

but instead is ASTM A743 (also known as CF8), a material not approved by NAVSEA.

       7.      Crane Sells Valves with Modifications Not Approved by NAVSEA as Mil-
               Spec Valves

       50.     Since at least 2007, Crane has supplied valves with holes drilled in the discs,

shipping the valves tagged and identified as Mil-Spec valves. In December 2007, Crane submitted

a drawing to Bath Iron Works for 6-inch to 12-inch wafer type butterfly valves with drilled discs

with the drawing number 1WA-291FGF-3XG. The Figure number identifies the valve as a Mil-

Spec valve, and the Notes confirm both that the disc has been drilled and that the valve is

purportedly in conformance with MIL-V-24624. Additionally, the notes state that the valve is

listed on the Qualified Products List QPL-24624. Crane created a part number and approved this

valve for production under ECO 851 in November 2007. Crane created the part description “08-
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1WA-294FGF-3XG (DRILLED DISC)” for the valve, still asserting that this valve is a Mil-Spec

valve. When the tag is generated for this type of valve, the parenthetical note is truncated and the

tag only shows a Mil-Spec conforming part number. Crane issued one such valve in January 2017,

issuing a CMTR certifying that the valve passed MIL-V-24625 testing. While the valve’s tag was

replaced, a photograph taken by Relator shows that the Mil-Spec tag does not contain any

reference to a drilled disc. Crane has never been Mil-Spec certified for valves with a drilled disc

as demonstrated here.

       51.     Additional variants have been created throughout the years for Crane. In late 2016,

Crane initially rejected a customer request to provide a drilled-disc valve with a ductile iron hand

wheel. After the initial rejection, Crane then approved the change.         While Steve Ferguson

indicated that the item would not be QPL-approved, the tag generated for the valve would indicate

that it was, in fact, a Mil-Spec valve. Crane routinely ships valves with variations like these,

making boilerplate objections to the production, but ultimately shipping the valves as though they

are Mil-Spec certified.

       8.      Significant Problems with Valve Shafts and Wedge Pins

       52.     The shafts and wedge pins for Crane’s Mil-Spec valves do not meet the MIL-V

requirements; the hardening used results in more fragile shafts and wedge pins that pose a greater

risk of failure. Under MIL-V-24624 the “stem” (shaft) and “Stem to disc fasteners” (wedge pins)

for Type I and II valves are required to be constructed of certain types of material, including

“ASTM A 564, type 630, hardening condition 1025 or 1075.” MIL-V-24624(SH) Amendment 1,

Table I. This is a specification that requires age-hardening of the material to specific hardening

conditions. ASTM A 564 contains a table that provides the specifications for hardening conditions

H1075 and H1025, which provides treatment temperatures, as well as the resulting tensile strength,
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yield strength, elongation, hardness, and other characteristics. Crane’s drawings for both Type I

Mil-Spec valves approved by NAVSEA do not specify the hardening condition, instead only

listing shafts and disc wedge pins constructed of material ASTM A564-630. Nevertheless, Crane

is required to conform to the MIL-V-24624 specification for the shafts and wedge pins.

        53.        Wedge pins are a vital safety feature of the valves. MIL-V-24624 requires the shaft

to be “rigidly attached to the disc,” which prevents the shaft from being expelled from the valve

body in the event of component failure and injuring a sailor operating the valve. MIL-V-

24624(SH) Amendment 1 3.7. This is accomplished by the wedge pins, which secure the disc to

the shaft in conformance with the requirement.

        54.        Despite the clear specifications provided in MIL-V-24624, Crane does not and

has never conformed to this specification for its shafts and wedge pins. Instead, Crane supplies

shafts conforming to hardening condition H1150. Crane’s Bill of Materials shows hardening

condition H1150. Materials certifications for Crane vendors for shafts show the same. However,

per ASTM A 564, hardening condition H1150 is a lower standard heating condition that what is

called for. Hardening condition H1150 heats components to a higher degree, which reduces tensile

and yield strength, elongates the material and reduces the hardness when compared to hardening

conditions H1025 and H1075. Ultimately this results in a more brittle product that carries a higher

risk of failure.

        55.        In addition to the hardness ratings, Crane’s shafts and wedge pins for all Mil-Spec

valves frequently do not match the approved specifications. For each different valve size, the

drawings provide specific measurements for each wedge pin. The NAVSEA drawings provide

four specific measurement dimensions: the full length of the pin (“A” on the drawings), the

measurement of the “uncut” length (“B”), the diameter of the pin (“C”), and the angle. The
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drawing also gives approved tolerances: A uses Standard Tolerance, B is ± .015, C is +.0002 and

-.0003, while no variance is permitted in the angle.

       56.     As discussed briefly above, Relator conducted a “gap analysis” to determine the

variations in tolerances between the drawings submitted to and approved by NAVSEA and

Crane’s internal component drawings. She identified which dimensions Crane determined to be

critical to quality and compared each dimension to find where Crane allows for greater tolerance

than was approved by NAVSEA. Crane allows greater variance than approved by NAVSEA for

both the A dimension and the angle on every wedge pin length, as well as the C dimension on all

but the smallest wedge pin. Thus, in critical to quality dimensions, Crane routinely allows larger

variations than those approved by NAVSEA.

       57.     In conducting this gap analysis, Relator also discovered Crane does not use the

proper wedge pins for certain size valves. Relator determined Crane does not have internal wedge

pin drawings that match the specifications for eight- or ten-inch valves. For the ten-inch valves,

Crane uses the wedge pin approved for use in the 12- and 14-inch valves. For the eight-inch valves,

Crane uses the wedge pin approve for use in six-inch valves. For both valve sizes, Crane is not

using the proper wedge pins specified in the drawings approved by NAVSEA.

       58.     In conducting the analysis, Relator also discovered an additional issue with the six-

inch wedge pins. Drawing C0009F, the internal drawing for the wedge pin specified for the six-

inch valve, states that the A dimension is 1.500. The NAVSEA-approved dimension for this wedge

pin is 1.375. According to the drawing’s revision log, this dimension was changed from 1.375” to

1.500” in 1994, per ECO 2686. Despite that change, the NAVSEA-approved drawing has not been

updated. To Relator’s knowledge, NAVSEA has never been notified of this component change.

       59.     Additionally, at least one Crane drawing that is submitted to clients misidentifies
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the components preventing “blowout.” As previously discussed, MIL-V-24624 section 3.7

requires the valve shaft to be attached to the disc to prevent the shaft from “expulsion” from the

valve in the event of part failure. This is referred to as a “blowout.” Page 4 of Crane’s drawing for

its 5-inch wafer valve, component 05-1WA-5X3XGF-3XG, contains a “BLOWOUT PROOF

DETAIL,” depicting the upper portion of the shaft, the Cotter Keys, and the Snap Ring. None of

the components prevent blowout as described and required in MIL-V-24624; this is the function

of the wedge pin that affixes the shaft to the disc. While the parts continue to perform intended

functions, this example further demonstrates the level of incompetence displayed by Crane in

producing and certifying its Mil-Spec valves to clients as well as the institutional ignorance of the

Mil-Spec requirements to which Crane is held.

       9.      Crane Sells Mil-Spec Valves n Sizes NAVSEA Never Approved

       60.     Crane frequently sells 2-inch valves for which it holds no certifications or

NAVSEA approval. Of the four different types of Mil-Spec valves Crane sells, only the “NAVA

Type 3” stainless steel wafer style valve is certified in the 2-inch size. The smallest valves that

Crane is certified by NAVSEA to sell for the “NAVB Type 3,” the “NAVA Type 1,” and the

“NAVB Type 1” is the 2.5-inch valve. Despite this restriction, Crane sells 2-inch valves of the

types not approved for sale. In 2010, Crane sold multiple 2-inch versions of the NAVA Type 1

and NAVB Type 1 Mil-Spec valves in a single purchase order, issuing CMTRs for each type. This

is not an isolated incident; Crane routinely sells 2-inch valves for all four of its Mil-Spec lines,

despite being approved to only sell one type in the 2-inch variety.

       10.     Specialty Metals Restriction Requiring Purchase from American Sources

       61.     Title 10, United States Code, Section 4533b requires that items critical to national

security and the components thereof to be made from specialty metals melted or produced in the
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United States. The Secretary of Defense issued regulations as part of the Defense Federal

Acquisition Regulation Supplements (“DFARS”) prohibiting the Department of Defense or its

prime contractors from purchasing “specialty metals” 4 not produced or melted in the United

States.5 48 C.F.R. § 225.7003 et seq. The restriction applies to aircraft, missile and space systems,

ships, tank or automotive items, weapon systems, and ammunition that contain any specialty

metals. 48 C.F.R. § 225.7003-2. The restriction is subject to exceptions that exempt certain

contracts from providing specialty metals melted or produced in the United States; some of the

exceptions wholly exempt a contract from the restriction, while others exempt specific

components of the military hardware listed above. See 48 C.F.R. § 225.7003-3. The regulations

also require DOD contracting officers to approve exceptions at the time of the contract and include

the restriction language, located at DFARS 252.225-7009, as a clause in the prime contract that

should be flowed down to all subcontracts with any applicable exceptions. 48 C.F.R. § 225.7003-

5(a)(2)(ii).

         11.      Additional Mil-Spec Valve Component Problems

         62.      In addition to the component issues detailed above, Crane routinely encounters

additional problems with components in its Mil-Spec valves, none of which have ever been

reported to NAVSEA as required by the DODM regulations. The following are examples of the

issues discovered:

         x        Soft seat measurements fail critical to quality dimensions. Engineering gave a
                  deviation on the part and Crane continues to ship valves with the soft seats.
                  Additionally, Crane supplies a different style of soft seat in repair kits than the seat
                  provided in the original valve. Like the original soft seat, the new seat does not
                  match specifications;


4
  “Specialty metals” are defined as steel meeting certain alloy content restrictions, as well as titanium and titanium
alloys, zirconium and zirconium alloys, and other metal alloys that meet certain alloy content requirements. See 48
C.F.R. § 252.225-7009(a).
5
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    x     Mil-V Fireflow seats fail critical to quality dimensions. Relator had the MIL-V
          Fireflow seats cross-sectioned and measured at a third party lab at the Navy’s
          request. Crane confirmed that it would measure the Mil-V Fireflow seats but is not
          equipped to do so. The lab returned results out of spec. Engineering generated a
          deviation and the seats continue to be placed in Mil-V valves;

    x     Numerous issues with Hex Head Capscrews exist. Each of Crane’s NAVSEA-
          approved drawings specify that Hex Head Capscrews are to be 3/4-inch long. Crane
          frequently purchases Hex Head Capscrews that are 5/8-inch. Additionally,
          Huntington Ingalls Shipbuilding issued a quality alert regarding the screws, stating
          that cut screws would not be allowed. Huntington Ingalls discovered that many
          suppliers were trimming screws to length instead of purchasing proper screws.
          Crane is aware of this practice and regularly takes shipments with Certificates of
          Conformance identifying the Hex Head Capscrews as having been trimmed;

    x     The Mounting Bracket with Gear, used in Crane’s Type III wafer and lug style
          valves, is not the material approved by NAVSEA. The NAVSEA approved
          drawings for NAVA 3 and NAVB 3 specify that the “Mounting Bracket w/Gear”
          be made of “Al. Brz. MIL-B-24480,” meaning aluminum bronze that conforms to
          MIL-B-24480 specifications. Instead of the specified aluminum bronze, the metal
          used is ASTM B61, not MIL-B-24480 aluminum bronze;

    x     Hand Wheel sizes do not match what was approved by NAVSEA in each of the
          Mil-Spec drawings. For example, 10-inch hand wheels are only approved to be
          used on the 8-inch valve configuration. Crane frequently uses the 10-inch hand
          wheel in its 10-inch valve configuration. Additionally, 12-inch wheels are used in
          17 different valve configurations in 10- and 12-inch sized valves, despite the
          NAVSEA drawings calling for an 18-inch hand wheel in those configurations;

    x     Crane has used Monel bolts in the assembly of its Mil-Spec valves for years prior
          to formal approval. In late 2015, NAVSEA notified Crane that it needed to resubmit
          drawings for each of its four Mil-spec valves. On the 2016 drawings for each type,
          Crane included and had approved Hex Head Capscrews of type “Monel QQ-N-
          281”. This change was the central material change between the previously
          approved drawings and the current version which was approved March 1, 2016.
          Despite the issue coming to NAVSEA’s attention in 2015 and approval in 2016,
          Crane used Monel bolts in its Mil-Spec valves for many years prior to the discovery
          by NAVSEA;

    x     Crane frequently sells Mil-Spec valves with limit switches attached despite never
          obtaining NAVSEA approval. Crane has sold Mil-Spec valves with limit switches
          attached since at least 2007, if not earlier. Issues with such valves arise frequently,
          as recently as April 2017. In one purchase order (PO NC85981-1) Crane shipped
          assembled Mil-Spec valves with limit switches attached but made a note that the
          valve is QPL approved but that the limit switch is not. Instead of shipping separate
          parts, however, Crane ships the valves and limit switches as a completed unit.
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               Crane does not and has never had NAVSEA approval to ship such valves under its
               QPLs.

       x       Washers are another item with which Crane has had multiple issues. The washers
               are used with a jam nut to attach the hand wheel to the gear. Crane frequently buys
               washers from unapproved vendors or from the wrong vendors to be used in Mil-
               Spec valves. Additionally, washer changes are made without performing any sort
               of First Article Inspections. For example, in November 2016, Crane issued an ECO
               regarding the Mil-Spec washers. The ECO acknowledges that the original
               specification requires 18-8 stainless steel, but Crane had been purchasing A479-
               316 stainless steel material. The ECO reverts the material for the part back to 18-
               8.

       x       Additionally, Crane’s inventory system identifies a washer as having Part Number
               13012-M005, designating the part as 18-8 stainless steel. In Crane’s inventory,
               parts with the “M” prefix as used here designate products to be used in Mil-Spec
               designs. However, this part number is not assigned to any valves. Instead, Part
               Number 13012-0005, which is the subject of the above ECO, is used in Mil-Spec
               valves. Had Crane been using the correct part as identified in its system, the
               washers would have been constructed of approved material and not required the
               ECO.

       12.     Additional Violations

       63.     In addition to the above items, Relator has information and documentation related

to other false claims act violations, listed generally below:

       64.     Crane routinely fails to conform to the requirements set forth in DFARS 252.225-

7009, requiring that items or components be constructed from specialty metals made or produced

in the United States or qualifying countries. Crane routinely provides components that are made

from metals that are neither melted nor produced in the U.S. or a qualifying country. In addition,

Crane receives components of its Mil-Spec valves that are made from noncompliant metals.

Relator is aware of one supplier that places “Made in Canada” stickers on the component before

sending the valves to Crane, despite obtaining the component in China. Furthermore, Crane

discusses applicable exceptions to the DFARS requirement while not procuring additional

guidance from NAVSEA or the prime contractor.
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       65.     Crane holds ISO-9001 certification for its quality management system. Crane

routinely uses the certification as a shield, despite numerous failures of the system and lack of

process and quality controls. While Crane conducts audits (both internal and external) on a regular

basis, Crane routinely ignores the audit findings and falsely states and/or fails to implement

corrective actions. Instead of seeking to meet the ISO-9001 requirements, Crane adopts a culture

of obfuscation and deception, struggling to give the appearance of conformity while consistently

circumventing the requirements.

       66.     Crane routinely fails to perform First Article Inspections on new components. In

some instances, components failed First Article Inspections but Crane affirmed them as passed to

Crane’s client. In 2016, Crane replaced one of its vendors for a number of components used in

Mil-Spec valves. Notwithstanding the trigger, Crane failed to perform First Article Inspections on

each of the products.

       67.     W&O notified Crane about shock and vibration test failures with one of Crane’s

2.5-inch Mil-Spec lug valves. Relator conducted an investigation and determined that Crane

provided valves that had downsized necks, which resulted in cracking of the neck. Despite Crane’s

awareness of what happened, Crane approved the distribution of the valve with the downsized

neck, despite efforts to revise the design to strengthen the neck. Crane failed to report the issues

to NAVSEA.

       68.     Crane routinely fails to use its approved vendors and purchases components and

parts from unapproved vendors. Additionally, it circumvents purchase order and bill of materials

tracking by using “expense purchase orders,” which are used for the purchase of office expense-

type items (e.g. pens, paper, chairs, etc.). Additionally, Crane employees will purchase

components with Crane expense cards to circumvent the purchase order process.
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D.     Crane’s False Representations and Certifications About QPL

       69.    Crane has made and continues to make false representations to the Government

and Prime Contractors to the Government that it complied with the Qualified Products List,

Military Specification Mil-V-24624, and other contractual requirements.

       70.    Subsequent to the execution of the Government’s Agreement with Crane on or

about February 2007, Crane knew QPL regulations required that it could only manufacture valves

in accordance with MIL-V-24624 specifications. Crane had direct and specific knowledge of this

requirement by virtue of, and demonstrated by, numerous correspondences with the Government

as well as the the 2007 Agreement.

       71.    At all times relevant herein, Crane’s acts in violation of 31 U.S.C. § 3729, et seq.,

were performed knowingly by officers and/or employees of Crane who were acting within the

scope of their employment and for the benefit of their employer.

       72.    Crane’s actions have deprived the United States of the pre-contractual assurance of

conformity that the QPL program is intended to provide. Crane's actions and inactions have

undermined the integrity of the QPL program itself as a whole.

       73.    The United States has a compelling interest in developing and fostering a

robust pool of manufacturers capable of providing the it ems for which QPL listings have

been established and that are necessary to maintaining the national military infrastructure,

such as suppliers of butterfly valves made in accordance with militar y specification Mil-V-

24624. Crane's actions have undermined the United States of the ability to do just that.

Potential competitors who legitimately adhere to the requirements of military

specifications and the QPL will be less well positioned to have the advantageous pricing

structure of those who do not comply. Ultimately, elimination of a robust base of viable
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suppliers can lead to the United States being at the mercy of a pricing structure dictated by

the last remaining manufacturer of a necessary QPL item.

       74.     In reliance on the above-described representations and the false certifications

submitted by Crane to the United States and to prime contractors, the Government paid Crane or

paid the prime contractors seeking reimbursement for payments to Crane with appropriated funds

from the United States' Treasury.

E.     Crane’s Failure to Report Quality Discrepancy Issues to the Qualifying Activity

       75.     The obligations of a manufacturer of a QPL item extend beyond the mandatory

approvals of, and notifications of change in, a QPL item manufacturing plant. Those obligations

include, among other things, the responsibility to “[e]nsure that delivered items conform to all

requirements including performance, quality, reliability, and all other specified product

characteristics.” (Enclosure 14, ¶ AP2.7.1.3) and to “[r]eport immediately any discrepancies

disclosed during testing, periodic reexamination of its products and production processes and

controls to the Qualifying Activity.” (Enclosure 14, ¶ AP2.7.1.2).

       76.     Crane did not report any of the aforementioned non-conforming discrepancies to

the Qualifying Activity and Crane’s failure to do so was a violation its obligations under the QPL

program requirements.

       77.     Certain of the aforementioned non-conformances reflect a failure of a quality

system as is required by military specification Mil-V-24624 ¶ 4.1.1, the QPL regulations, and

prime contractor requirements. Adequately performed quality measures would have identified

many of the above discrepancies noted.

       78.     Throughout the period of Crane’s correspondence and discussions with the

Qualifying Activity, Crane failed to disclose to the Qualifying Activity the aforementioned quality
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issues or discrepancies.

                                      CAUSES OF ACTION

A.      Count 1 - False Claims Act Violations, 31 U.S.C. § 3729(a)(1)

        79.     The United States incorporates the allegations of paragraphs 1 through 78 as if fully

set forth herein.

        80.     As set forth above, Crane knowingly failed to meet contract requirements and

specifications concerning manufacture and delivery of butterfly valves manufactured in

accordance with military specification Mil-V-24624 and QPL requirements as required under the

Government and prime contractor contracts.

        81.     Crane knowingly presented, or caused to be presented, to officers or employees of

the United States Government false claims for payment or approval by falsely representing

compliance with contract requirements and specifications concerning manufacture and delivery of

butterfly valves manufactured in accordance with military specification Mil-V-24624 and QPL

requirements as required under the Government and prime contractor contracts in violation of 31

U.S.C. § 3729(a)(1).

        82.     As a result of the Crane's submission of false claims, the Government suffered

actual damages in an amount to be proven at trial.

B.      Count II - False Claims Act Violations, 31 U.S.C. § 3729(a)(2)

        83.     The United States incorporates the allegations of paragraphs 1 through 78 as if fully

set forth herein.

        84.     As set forth above, Crane knowingly failed to meet contract requirements and

specifications concerning manufacture and delivery of butterfly valves manufactured in

accordance with military specification Mil-V-24624 and QPL requirements under the various
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contracts it entered into with prime contractors to the United States.

       85.     As set forth above, Crane knowingly made, used, or caused to be made or used,

false records or statements regarding its compliance with contract requirements and specifications

concerning manufacture and delivery of butterfly valves manufactured in accordance with military

specification Mil-V-24624 and QPL requirements in order to obtain payment or approval by the

Government of false claims, in violation of 31 U.S.C. § 3729(a)(2).

       86.     As a result of the Crane's submission of false statements to get a claim paid by the

United States, the Government suffered actual damages in an amount to be proven at trial.

C.     Count III - Payment by Mistake

       87.     Plaintiff incorporates by reference herein the allegations made above in. paragraphs

1 through 78, inclusive.

       88.     Crane caused the United States to make payment in the mistaken belief that all

contract requirements and specifications concerning manufacture and delivery of butterfly valves

manufactured in accordance with military specification Mil-V-24624 and QPL requirements had

been met when, in fact, they had not been met. In such a circumstance, payment was by mistake

and was not authorized.

       89.     As a result of that unauthorized payment, the United States has sustained damages

in an amount to be proven at trial.

D.     Count IV - Unjust Enrichment

       90.     Plaintiff incorporates by reference herein the allegations made above in paragraphs

1 through 78, inclusive.

       91.     Crane has been unjustly enriched by Crane's failure to meet contract requirements

and specifications concerning manufacture and delivery of butterfly valves manufactured in
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accordance with military specification Mil-V-24624 and QPL requirements by Crane's submission

of false and fraudulent claims, and by Crane's receipt of payments to which it was not entitled

contractually or otherwise.

       92.     In equity and good conscience, Crane should not retain those payments, and they

should be returned to the United States.

E.     Count V - Breach of Contract

       93.     Plaintiff incorporates by reference herein the allegations made above in paragraphs

1 through 78, inclusive.

       94.     By virtue of the acts set forth above, Crane breached contracts with the United

States by its failure to meet contract requirements and specifications concerning manufacture and

delivery of butterfly valves manufactured in accordance with military specification Mil-V-24624

and QPL requirements.

       95.     Crane's breaches of contracts with the United States are material.

       96.     The United States has suffered damages, including consequential damages, in an

amount to be proven at trial as a result of Crane's breach of contract.

                                             PRAYER

WHEREFORE, the United States prays for judgment against Crane, as follows:

       97.     Under Counts I - II, a sum equal to three times the amount of the damages the

United States has sustained, plus such civil penalties as are allowable by law; or

       98.     In the alternative, under Count III, a sum equal to the amount which the United

States paid by mistake, plus interest and costs; or

       99.     In the alternative, under Count IV, a sum equal to the amount by which Crane was

unjustly enriched, plus interest and costs; or
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        100.    In the alternative, under Count V, a sum equal to the damages suffered by the

United States, including consequential damages, plus interest and costs; and,

        101.    Such other relief as this Court may deem just and proper, together with interest and

costs of this action.

                                              GAUNTT, KOEN, BINNEY & KIDD, LLP


                                              By:_/s/ Geoffrey S. Binney_____________
                                                      Geoffrey S. Binney
                                                      Fed. Bar No 32660
                                                      State Bar No. 24029071
                                              1400 Woodloch Forest Dr., Suite 575
                                              The Woodlands, Texas 77380
                                              Telephone: 281/367-6555
                                              Facsimile: 281/367-3705
                                              Attorneys for Qui Tam Plaintiff
                                              Corla Jacobson
